Case 1:14-mj-00113-PAS Document 6 Filed 06/09/14 Page 1 of 1 PagelD #: 30

AO 94 (Rev. 06/09) Commitment to Another District

UNITED STATES DISTRICT COURT

 

for the
District of Rhode Island
United States of America )
Vv. )
KURT SANBORN ) Case No. 1:14-MJ-113PAS

)

) Charging District’s

Defendant ) Case No. _CR 13-28-01SM
COMMITMENT TO ANOTHER DISTRICT
The defendant has been ordered to appear in the _ _ District of NEW HAMPSHIRE ;
(if applicable) division. The defendant may need an interpreter for this language:

 

 

The defendant: 0 will retain an attorney.

CO is requesting court-appointed counsel.
The defendant remains in custody after the initial appearance.

IT IS ORDERED: The United States marshal musf transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United Stated margfial foNthat district, or to another officer

 

Date: __ 06/10/2014

 

S/S Judge's signature

PATRICIA A. SULLIVAN, U.S. MAGISTRATE JUDGE

Printed name and title
